Case 1:21-cv-01421-NGG Document 20 Filed 05/28/21 Page 1 of 7 PageID Clerk’s
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                                                                                 U.S. DISTRICT COURT
                                                                                 EASTERN DISTRICT OF NEW YORK
                                                                                 BROOKLYN OFFICE




      UNITED STATES DISTRICT COURT
      EASTERN DISTRICT OF NEW YORK_____
      Percy, et al.,
                                              Plaintiffs,         JUDGMENT
                                                                20-cv-6131 (NGG)
                       -against-                             20-cv-6291 (NGG) (SJB)
      Oriska General Contracting, et al.,                    21-cv-1366 (NGG) (SJB)
                                                                21-cv-1421 (NGG)
                                            Defendants.
                                                            21-cv-1999 (NGG) (RLM)
      Hodge, et al.,
                                                             21-cv-2006 (NGG) (SJB)
                                              Plaintiffs,    21-cv-2009 (NGG) (SJB)
                       -against-                             21-cv-2010 (NGG) (SJB)
                                                             21-cv-2021 (NGG) (SJB)
      All American School Bus Corp., et al.,                21-cv-2022 (NGG) (ARL)
                                            Defendants.      21-cv-2024 (NGG) (SJB)
      Hodge, et al.,                                         21-cv-2025 (NGG) (SJB)
                                                             21-cv-2029 (NGG) (SJB)
                                              Plaintiffs,   21-cv-2030 (NGG) (AYS)
                       -against-                             21-cv-2031 (NGG) (SJB)
                                                             21-cv-2034 (NGG) (SJB)
      Cuomo, et al.,                                         21-cv-2035 (NGG) (SJB)
                                            Defendants.     21-cv-2039 (NGG) (RML)
      Oriska Corporation,                                    21-cv-2040 (NGG) (SJB)
                                                            21-cv-2045 (NGG) (VMS)
                                               Plaintiff,    21-cv-2050 (NGG) (SJB)
                       -against-                             21-cv-2175 (NGG) (SJB)
                                                             21-cv-2182 (NGG) (SJB)
      Hodge, et al.,                                         21-cv-2194 (NGG) (SJB)
                                            Defendants.      21-cv-2198 (NGG) (SJB)
      Oriska Corporation,                                    21-cv-2283 (NGG) (SJB)
                                                             21-cv-2311 (NGG) (SJB)
                                               Plaintiff,
                                                            21-cv-2313 (NGG) (RLM)
                       -against-                             21-cv-2314 (NGG) (SJB)
      Willoughby Rehabilitation and Health Care
      Center, LLC, et al.,
                                            Defendants.
      Oriska Corporation,
                                               Plaintiff,




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                      -against-
     Bayview Manor LLC, South Point Plaza, et
     al.,
                                         Defendants.

     Oriska Corporation,
                                            Plaintiff,
                      -against-
     Nassau Operating Co., LLC, et al.,
                                         Defendants.
     Oriska Corporation,
                                            Plaintiff,
                      -against-
     Garden Care Center, Inc., et al.,
                                         Defendants.
     Oriska Corporation,
                                            Plaintiff,
                      -against-
     Park Avenue Operating Co. LLC, et al.,
                                         Defendants.
     Oriska Corporation,
                                            Plaintiff,
                      -against-
     Parkview Care & Rehabilitation Center, et al.,
                                         Defendants.
     Oriska Corporation,
                                            Plaintiff,
                      -against-
     Pinegrove Manor II, LLC,-Grace Plaza, et al.,




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                                       Defendants.
     Oriska Corporation,
                                             Plaintiff,
                     -against-
     Townhouse Operating Co., LLC-Townhouse
     Center for Nursing, et al.,
                                       Defendants.
     Oriska Corporation,
                                             Plaintiff,
                     -against-
     Woodmere Rehabilitation and Health Care
     Center, Inc., et al.,
                                       Defendants.
      Oriska Corporation,
                                             Plaintiff,
                     -against-
     Brookhaven Rehabilitation and Health Care
     Center, LLC, et al.,
                                       Defendants.
     Oriska Corporation,
                                             Plaintiff,
                     -against-
     Little Neck Care Center, LLC, et al.,
                                       Defendants.
     Oriska Corporation,
                                             Plaintiff,
                     -against-
     New Surfside Nursing Home, LLC-Caring
     Family Nursing & Rehab, et al.,
                                       Defendants.




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     Oriska Corporation,
                                              Plaintiff,
                      -against-
     West Lawrence Care Center, LLC, et al.,
                                          Defendants.
     Oriska Corporation,
                                              Plaintiff,
                      -against-
     Avalon Gardens Rehabilitation & Health Care
     Center, LLC, et al.,
                                          Defendants.
     Oriska Corporation,
                                              Plaintiff,
                      -against-
     Golden Gate Rehabilitation and Health Care
     Center LLC, et al.,
                                          Defendants.
     Oriska Corporation,
                                              Plaintiff,
                      -against-
     North Sea Associates, LLC-The Hamptons
     Center, et al.,
                                          Defendants.
     Percy, et al.,
                                             Plaintiffs,
                      -against-
     Children's Law Center, et al.,
                                           Defendants.
     Percy, et al.,                   Plaintiffs,
                      -against-




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     D & D Metal Work Inc., et al.,
                                      Defendants.
     Percy, et al.,
                                         Plaintiffs,
                      -against-
     F & E Maintenance Inc, et al.,
                                      Defendants.
     Percy, et al.,
                                         Plaintiffs,
                      -against-
     I Grace Co, et al.,
                                      Defendants.
     Percy, et al.,
                                         Plaintiffs,
                      -against-
     U & I Mechanical Corporation, et al.,
                                      Defendants.
     Percy, et al.,
                                         Plaintiffs,
                      -against-
     Manhattan Telecommunications Corporation,
     et al.,
                                      Defendants.
     Percy, et al.,
                                         Plaintiffs,
                      -against-
     S & E Azrlliant PC, et al.,
                                      Defendants.
     Percy, et al.,




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                                             Plaintiffs,
                      -against-
     P & H Painting Inc., et al.,
                                           Defendants.
      Bay Park Center for Nursing &
      Rehabilitation, et al.,
                                             Plaintiffs,
                      -against-
     Bent Philipson, Avi Philipson, and Deborah
     Philipson,
                                           Defendants;
     Oriska Corporation,
                             Plaintiff-in-Intervention,
                      -against-
     Bay Park Center for Nursing &
     Rehabilitation, et al.,
                        Defendants-in-Intervention;
     Donna Hodge, Annette Hall, Karen Grant
     Williams, and Alexi Arias,
                  Class Defendants-in-Intervention;
     Bent Philipson, Avi Philipson, and Deborah
     Philipson,
           Lead Action Defendants-in-Intervention;
     Aaron Becher, et al.,
                    Owner Operator Defendants-in-
                                    Intervention;
     The Philipson Family Trust, et al.,
             Prohibited Transaction Defendants-in-
                                     Intervention;
     Andrew Cuomo, et al.,




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            State Officer Defendants-in-Intervention;
       Oriska Insurance Company,
                   Carrier Defendant-in-Intervention;
       Rashbi Management, Inc.,
                    Trust Defendants-in-Intervention.



               A Memorandum and Order of the Honorable Nicholas G. Garaufis, United States

District Judge, having been filed on May 27, 2021, remanding the removed actions to New York

Supreme Court, Oneida County, dismissing with prejudice each of the federal actions, and

granting requests for attorney’s fees and costs by the Defendants in the removed actions; it is


               ORDERED and ADJUDGED that the removed actions are remanded to New

York Supreme Court, Oneida County; the federal actions are dismissed with prejudice; requests

for attorneys’ fees and costs by the Defendants in the removed actions are granted, and Judgment

is entered in favor of Defendants.


Dated: Brooklyn, New York                                     Douglas C. Palmer
       May 28, 2021                                           Clerk of Court

                                                        by:   /s/ Brenna B. Mahoney
                                                              Brenna B. Mahoney
                                                              Chief Deputy




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